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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                                      §         Case No. 20-31973 (MI)
                                                                §
    CARBO CERAMICS INC., et al.,                                §         (Chapter 11)
                                                                §
                                                                §         (Jointly Administered)
             Debtors.1                                          §         Related to Dkt. No. 528 and 539

              NOTICE OF (I) ENTRY OF ORDER CONFIRMING THE
           DEBTORS’ SECOND AMENDED JOINT CHAPTER 11 PLAN OF
        REORGANIZATION AND (II) OCCURRENCE OF THE EFFECTIVE DATE

        PLEASE TAKE NOTICE that on June 18, 2020, the Honorable Marvin Isgur, United
States Bankruptcy Judge for the United States Bankruptcy Court for the Southern District of Texas
(the “Court”), entered the order [Docket No. 539] (the “Confirmation Order”) confirming the
Debtors’ Second Amended Joint Chapter 11 Plan of Reorganization [Docket No. 528] (as
amended, modified, or supplemented, the “Plan”).2

        PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on
July 2, 2020.

        PLEASE TAKE FURTHER NOTICE that copies of Confirmation Order and the Plan,
as well as other documents filed in the Chapter 11 Cases can be found on the docket of the Chapter
11 Cases and can also be downloaded free of charge from the website of the Debtors’ noticing and
claims agent, Epiq Corporate Restructuring, LLC, at https://dm.epiq11.com/Carbo.

        PLEASE TAKE FURTHER NOTICE that the Court has approved certain discharge,
release, exculpation, injunction, and related provisions in Article VIII of the Plan.

        PLEASE TAKE FURTHER NOTICE that the Plan and Confirmation Order, and the
provisions thereof, are binding on the Debtors, the Reorganized Debtors, the Plan Administrator,
the Liquidating Trust, any Holder of a Claim against or Interest in the Debtors and such Holder’s
respective successors, assigns, and designees, whether or not the Claim or Interest of such Holder
is Impaired under the Plan and whether or not such Holder or entity voted to accept the Plan.3


1
     The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
     are: CARBO Ceramics Inc. (0013); StrataGen, Inc. (5205); and Asset Guard Products Inc. (6422). The location
     of the Debtors’ U.S. corporate headquarters and the Debtors’ service address is: 575 N. Dairy Ashford Road,
     Suite 300, Houston, Texas 77079.
2
     Unless otherwise defined in this notice, capitalized terms used in this notice shall have the meanings ascribed to
     them in the Plan and the Confirmation Order.
3
     The Debtors or the Reorganized Debtors will make all distributions on account of all Allowed General Unsecured
     Claims at Asset Guard and StrataGen when such Claims are Allowed and the Plan Administrator will not bear
     further responsibility for such distributions.
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        PLEASE TAKE FURTHER NOTICE that, pursuant to the Plan and the Confirmation
Order, the deadline for filing requests for payment of Administrative Claims shall be 30 days after
the Effective Date and the deadline for filing requests for payment of Professional Fee Claims and
Committee Professional Fee Claims shall be 45 days after the Effective Date.

        PLEASE TAKE FURTHER NOTICE that from and after this date, if you wish to receive
notice of filings in this case, you must request such notice with the clerk of the Court and serve a
copy of such request for notice on counsel to the Reorganized Debtors. You must do this even if
you filed such a notice prior to the Effective Date.

       PLEASE TAKE FURTHER NOTICE that the Plan and the Confirmation Order contain
other provisions that may affect your rights. You are encouraged to review the Plan and the
Confirmation Order in their entirety.




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Dated: July 2, 2020
Houston, Texas
                                             VINSON & ELKINS LLP

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                                                 -and-

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                                                 ATTORNEYS FOR THE DEBTORS




                                CERTIFICATE OF SERVICE

        I certify that on July 2, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                              /s/ Garrick C. Smith
                                             One of Counsel




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